             Case: 21-1330   Document: 15     Page: 1   Filed: 03/17/2021




                       UNITED STATES COURT OF APPEALS
                           FOR THE FEDERAL CIRCUIT
                                ________________

                                     2021-1330
                                 ________________

                     GAME AND TECHNOLOGY CO., LTD.,

                                                    Appellant
                                         v.

                             WARGAMINGNET LLP

                                                    Appellee
                                  ____________

        APPELLANT'S UNOPPOSED MOTION TO DISMISS APPEAL
          DUE TO SETTLEMENT THROUGH CAFC MEDIATION
                         ____________

      Pursuant to Federal Rule of Appellate Procedure 42(b), Appellate Game and

Technology, Co. Ltd. respectfully moves to dismiss this appeal, with each party to

bear its own costs and legal fees. The parties have reached resolution of this matter

through the CAFC Mediation Program, a Settlement Agreement has been executed

and all conditions met. Counsel for all parties has consented to this motion and the

dismissal.

      For the above reasons, Appellant respectfully requests that the Court issue

an order dismissing the appeal with each party to bear its own costs.
          Case: 21-1330   Document: 15    Page: 2   Filed: 03/17/2021




Dated: March 17, 2021             Respectfully Submitted,

                                   /s/ Joseph J. Zito
                                  Joseph J. Zito
                                  DNL ZITO CASTELLANO
                                  1250 Connecticut Ave.
                                  Suite 700
                                  Washington, D.C., 20036
                                  jzito@dnlzito.com
                                  (202) 466-3500

                                  Attorneys for
                                  Appellant Game and Technology Co.




                                    -1-
           Case: 21-1330    Document: 15      Page: 3   Filed: 03/17/2021




                   UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT
                            ________________

                                   2021-1330
                               ________________

                    GAME AND TECHNOLOGY CO., LTD.,

                                                   Appellant
                                        v.

                            WARGAMINGNET LLP

                                                   Appellee
                                 ____________

   CERTIFICATE OF COMPLIANCE WITH WORD COUNT CAFC 32(g)(1)
                         ____________

      Undersigned counsel hereby certifies that the Unopposed Motion to dismiss

complies with Rule 32(g)(1). The document complies with the type-volume

limitation. The document contains a total of 89 eighty nine words.


                                       /s/ Joseph J. Zito
                                      Joseph J. Zito
                                      DNL ZITO CASTELLANO
                                      1250 Connecticut Ave.
                                      Suite 700
                                      Washington, D.C., 20036
                                      jzito@dnlzito.com
                                      (202) 466-3500

                                      Attorneys for
                                      Appellant Game and Technology Co.

                                        -1-
Case: 21-1330   Document: 15   Page: 4   Filed: 03/17/2021
Case: 21-1330   Document: 15   Page: 5   Filed: 03/17/2021
Case: 21-1330   Document: 15   Page: 6   Filed: 03/17/2021
